                     Case MDL No. 2804 Document 9645 Filed 03/07/25 Page 1 of 2
 UNITED STATES JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


                  2804                                                          National Prescription Opiate Litigation
 MDL No. _____________ & T ITLE - IN RE: __________________________________



                                      AMENDED NOTICE OF APPEARANCE
                          Appearances should only be entered in compliance with Rule 4.1(c).

 PARTIES REPRESENTED (indicate plaintiff or defendant--attach list if more than one
 action):

Defendants Albertsons Companies Inc., Albertsons, LLC, Safeway, Inc., Randall's Food & Drug, LP,
  and United Supermarkets, LLC

 SHORT CASE CAPTION(s) (Include District(s), Civil Action No(s).-- attach list if more
 than one action):

Tarrant County, Texas v. Purdue Pharma, et al., 1:18-op-45274, DAP, Texas Northern District, 3:18-cv-00518


                             *****************************************************

         In compliance with Rule 4.1(c), the following designated attorney is authorized to file and
 receive service of all pleadings, notices, orders, and other papers relating to practice before the
 Judicial Panel on Multidistrict Litigation on behalf of the plaintiff(s)/ defendant(s) indicated. I am
 aware that only one attorney can be designated for each party.
               March 7, 2025                                                    /s/ Francis A. Citera

                                  Date                                                               Signature of Attorney or Designee

 Name and Address of Designated Attorney:

 Francis A. Citera, Greenberg Traurig, LLP, 77 W. Wacker Dr, Suite 3100, Chicago, IL 60601


 Telephone No.: (312) 456-8400                                                                         Fax No.: (312) 456-8435
                citeraf@gtlaw.com
 Email Address: __________________________


 Instructions:

 1. From the JPM L hom e page, download N otice of Appearance. Fill out form and save in .pdf format. (All docum ents filed with the Judicial Panel m ust be in PD F Format.)
 T he Appearance Form is to be filed as the m ain PD F docum ent. Any docum ents subm itted with the Appearance F orm are attachm ents.
 2. Select M D L from the m enu bar at the top of the E CF screen.
 3. Click on N otices. Select the appropriate N otice of Appearance. Select N ext.
 4. Enter the three or four digit M D L num ber (ex. 875). Select N ext.
 5. V erify M D L num ber, if correct Select N ext.
 6. Choose the case(s) for which the Appearance is being filed. Select N ext.
 7. Select Party. Select next twice.
 8. U pload the Appearance Form as the M ain docum ent and all other docum ents as attachm ents. Be sure to choose a category and description. Select the docum ent to which
 the Appearance relates. (N ote: Appearances filed in new litigations will be linked to the initial M otion for T ransfer and Appearances filed in transferred litigations should be
 linked to the Conditional T ransfer Order (CT O).
 9. Select the next button and verify docket text. If correct continue to select next to com plete the transaction.




                                                                                                                                                               JPML Form 18
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                           UNITED STATES JUDICIAL PANEL
                           ON MULTIDISTRICT LITIGATION


 IN RE NATIONAL PRESCRIPTION
 OPIATE LITIGATION                              MDL No. 2804

 This document relates to: Track 9              Case No. 17-md-2804
 Case No. 1:18-op-45274-DAP

 TARRANT COUNTY, TEXAS,
                       Plaintiff,
         v.
 PURDUE PHARMA, et al.,
                       Defendants.


                 THE ALBERTSONS DEFENDANTS’ PROOF OF SERVICE

        In accordance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, the undersigned hereby certifies that on March 7, 2025, a true

and correct copy of the Amended Notice of Appearance of Francis A. Citera was filed in the office

of the Clerk of the United States Judicial Panel on Multidistrict Litigation, which was served on

all counsel of record registered as CM/ECF users.


Dated: March 7, 2025

                                                           /s/ Francis A. Citera
                                                              Francis A. Citera




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